               Case 4:21-cr-00186-JST Document 49 Filed 11/16/21 Page 1 of 3



   STEPHANIE M. HINDS (CABN 154284)
 1 Acting United States Attorney

 2 HALLIE HOFFMAN (CABN 210020)
   Chief, Criminal Division
 3
   DAVID J. WARD (CABN 239504)
 4 Assistant United States Attorney

 5          450 Golden Gate Avenue, Box 36055
            San Francisco, California 94102-3495
 6          Telephone: (415) 436-7200
            FAX: (415) 436-7234
 7          david.ward@usdoj.gov
 8 Attorneys for United States of America
 9                                    UNITED STATES DISTRICT COURT
10                                 NORTHERN DISTRICT OF CALIFORNIA
11                                            OAKLAND DIVISION
12
                                        )                CASE NO. 21-CR-186 JST
13   UNITED STATES OF AMERICA,          )
                                        )                STIPULATION TO EXCLUDE TIME FROM
14        Plaintiff,                    )                OCTOBER 29, 2021 TO JANUARY 14, 2022 AND
                                        )                [PROPOSED] ORDER
15     v.                               )
                                        )
16   CHARLES HOLLINS, DARIUS CHUNG, and )
     AMARA MERRITT                      )
17                                      )
          Defendants.                   )
18                                      )
19          It is hereby stipulated by and between counsel for the United States and counsel for defendants,
20 Charles HOLLINS, Darius CHUNG and Amara MERRITT, that that time be excluded under the Speedy

21 Trial Act from October 29, 2021 through January 14, 2022.

22          At the status conference held on October 29, 2021, the government and counsel for the
23 defendants agreed that time be excluded under the Speedy Trial Act so that defense counsel could

24 continue to prepare, including by reviewing the discovery already produced. For this reason and as

25 further stated on the record at the status conference, the parties stipulate and agree that excluding time

26 until January 14, 2022 will allow for the effective preparation of counsel. See 18 U.S.C.

27 § 3161(h)(7)(B)(iv).

28 //
     STIP. TO EXCLUDE TIME AND PROPOSED ORDER 1
     No. 21-CR-186 JST
               Case 4:21-cr-00186-JST Document 49 Filed 11/16/21 Page 2 of 3




 1          The parties further stipulate and agree that the ends of justice served by excluding the time from

 2 October 29, 2021 through January 14, 2022 from computation under the Speedy Trial Act outweigh the

 3 best interests of the public and the defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A), (B)(iv).

 4          The undersigned Assistant United States Attorney certifies that he has obtained approval from

 5 counsel for the defendant to file this stipulation and proposed order.

 6

 7          IT IS SO STIPULATED.

 8
     DATED: November 16, 2021                                     /s/
 9                                                       DAVID J. WARD
                                                         Assistant United States Attorney
10

11 DATED: November 16, 2021
                                                         /s/ with permission
12                                                       JULIA JAYNE
                                                         Attorney for Defendant Charles Hollins
13

14 DATED: November 16, 2021
                                                         /s/ with permission
15                                                       AUGUST GUGELMANN
                                                         Attorney for Defendant Darius Chung
16

17 DATED: November 16, 2021

18                                                       /s/ with permission
                                                         ANN MCGLENON
19                                                       Attorney for Defendant Amara Merritt

20

21

22

23

24

25

26

27

28
     STIP. TO EXCLUDE TIME AND PROPOSED ORDER 2
     No. 21-CR-186 JST
               Case 4:21-cr-00186-JST Document 49 Filed 11/16/21 Page 3 of 3




 1                                           [PROPOSED] ORDER

 2          Based upon the facts set forth in the stipulation of the parties, and the representations made to the

 3 Court on October 29, 2021, and for good cause shown, the Court finds that failing to exclude the time

 4 from October 29, 2021 through January 14, 2022 would unreasonably deny defense counsel and the

 5 defendants the reasonable time necessary for effective preparation, taking into account the exercise of

 6 due diligence. 18 U.S.C. § 3161(h)(7)(B)(iv). The Court further finds that the ends of justice served by

 7 excluding the time from October 29, 2021 to January 14, 2022 from computation under the Speedy Trial

 8 Act outweigh the best interests of the public and the defendants in a speedy trial.
 9          Therefore, and with the consent of the parties, IT IS HEREBY ORDERED that the time from

10 October 29, 2021 through January 14, 2022 shall be excluded from computation under the Speedy Trial

11 Act. 18 U.S.C. § 3161(h)(7)(A), (B)(iv).

12

13          IT IS SO ORDERED.

14
     DATED: ________________                                      ___________________________
15                                                                HON. JON S. TIGAR
                                                                  United States District Judge
16

17

18
19

20

21

22

23

24

25

26

27

28
     STIP. TO EXCLUDE TIME AND PROPOSED ORDER 3
     No. 21-CR-186 JST
